                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                       OFFICE OF THE CLERK



Catherine M. Stavlas, Clerk                                     Reply to Southern Division Address
David E. Ciambruschini, Chief Deputy

                                         February 13, 2025
                                                                       8:25−cv−00430−DLB
                                                      American Federation of Teachers et al v.
                                                                                Bessent et al


Dear Counsel,

The Clerk received your Motion for Admission Pro Hac Vice for Shalini Goel Agarwal.
However, the statement checked below was missing or incomplete:

[]      The proposed admittee is not a member of the Maryland bar and does not maintain
        any law office in Maryland.
[]      The proposed admittee is a member in good standing of the bars of the following
        State Courts and/or United States Courts.
[]      During the twelve months immediately preceding this motion, the proposed
        admittee has been admitted pro hac vice in this Court ________ times.
[]      The proposed admittee has never been disbarred, suspended, or denied admission to
        practice law in any jurisdiction. (NOTE: If the proposed admittee has been
        disbarred, suspended, or denied admission to practice law in any jurisdiction, then
        he/she must submit a statement fully explaining all relevant facts.)
[]      The proposed admittee is familiar with the Code of Professional Responsibility, the
        Federal Rules of Civil and Criminal Procedure, the Federal Rules of Evidence, the
        Federal Rules of Appellate Procedure and the Local Rules of this Court, and
        understands he/she shall be subject to the disciplinary jurisdiction of this Court.
[]      The proposed admittee understands admission pro hac vice is for this case only and
        does not constitute formal admission to the bar of this Court.
[x]     Either the undersigned movant or ________________________________, is also a
        member of the bar of this Court in good standing, and will serve as co−counsel in
        these proceedings.
[]      The $50.00 fee for admission pro hac vice is enclosed. (Payment may be made by
        check or money order payable to Clerk, United States District Court or by major
        credit card.)
[]      We hereby certify under penalties of perjury that the foregoing statements are true
        and correct.
[]      More than one statement is missing. You may not have used the Court's current
        form.
[]      The case number is incorrect or is missing.
[]      The address is incomplete. Please include the city, state, and zip code.
[]      Other contact information (phone number, fax number, or e−mail address) is
        missing.
[]      Other: ____________________________________________
To file a revised motion without paying the fee a second time, please do the following:
      1. Go to the Court's website at www.mdd.uscourts.gov to obtain the Motion
         for Admission Pro Hac Vice form.
      2. Prepare the motion with all required information.
      3. Signatures of attorneys must either be handwritten or meet the requirements
         in the "signature" section of our civil procedures manual. (You may go to
         our website at www.mdd.uscourts.gov to access the manual.)
      4. Refile the motion using the event, "Pro Hac Vice − Corrected."
When the new motion is received and reviewed, a ruling will be issued. In the
meantime, the existing motion will be terminated and marked "Filed In Error."



                                                                                      Very truly yours,
                                                                                                 /s/
                                                                                      Catherine M. Stavlas
                                                                                      Clerk, U.S. District Court
                                                                                      District of Maryland
                                                                                      prepared by: Marlowe Hill




     Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
     Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                   Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
